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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

Civil Action No. 21-cv-01776-MEH

U.S. SECURITIES AND EXCHANGE COMMISSION,

       Plaintiff,

v.

SKIHAWK CAPITAL PARTNERS, LLC,
CONVERGENCE GROUP, LLC,
CLEMENT M. BORKOWSKI,
SEAN A. HAWKINS, and
JOSEPH P. SCHIFF,

      Defendants.
______________________________________________________________________________

                                  MINUTE ORDER
______________________________________________________________________________
Entered by Michael E. Hegarty, United States Magistrate Judge, on June 27, 2022.

       For good cause shown, the parties’ Unopposed Joint Motion to Amend the Scheduling
Order [filed June 24, 2022; ECF 40] is granted. Section 8 of the Scheduling Order is modified as
follows:

d.     Service of Interrogatories, Requests for Production of Documents, and/or Admissions:

       December 30, 2022

Section 9 of the Scheduling Order is modified as follows:

b.     Discovery Cut-off:                             May 5, 2023
c.     Dispositive Motion Deadline:                   June 9, 2023
d(3)   Affirmative Expert Witness Disclosures         January 20, 2023
d(4)   Rebuttal Expert Witness Disclosures            March 3, 2023

       Additionally, the Final Pretrial Conference currently scheduled for January 17, 2023 is
vacated.

         At the close of discovery, on May 5, 2023, the parties shall file a motion to reset the Final
Pretrial Conference.
